 Case 3:18-cv-02615-AGT Document 88-19 Filed 02/14/19 Page 1 of 23




EXHIBIT 15 REDACTED VERSION OF
DOCUMENTSOUGHT TO BE SEALED
Case 3:18-cv-02615-AGT Document 88-19 Filed 02/14/19 Page 2 of 23
Case 3:18-cv-02615-AGT Document 88-19 Filed 02/14/19 Page 3 of 23
Case 3:18-cv-02615-AGT Document 88-19 Filed 02/14/19 Page 4 of 23
Case 3:18-cv-02615-AGT Document 88-19 Filed 02/14/19 Page 5 of 23
Case 3:18-cv-02615-AGT Document 88-19 Filed 02/14/19 Page 6 of 23
Case 3:18-cv-02615-AGT Document 88-19 Filed 02/14/19 Page 7 of 23
Case 3:18-cv-02615-AGT Document 88-19 Filed 02/14/19 Page 8 of 23
Case 3:18-cv-02615-AGT Document 88-19 Filed 02/14/19 Page 9 of 23
Case 3:18-cv-02615-AGT Document 88-19 Filed 02/14/19 Page 10 of 23
Case 3:18-cv-02615-AGT Document 88-19 Filed 02/14/19 Page 11 of 23
Case 3:18-cv-02615-AGT Document 88-19 Filed 02/14/19 Page 12 of 23
Case 3:18-cv-02615-AGT Document 88-19 Filed 02/14/19 Page 13 of 23
Case 3:18-cv-02615-AGT Document 88-19 Filed 02/14/19 Page 14 of 23
Case 3:18-cv-02615-AGT Document 88-19 Filed 02/14/19 Page 15 of 23
Case 3:18-cv-02615-AGT Document 88-19 Filed 02/14/19 Page 16 of 23
Case 3:18-cv-02615-AGT Document 88-19 Filed 02/14/19 Page 17 of 23
Case 3:18-cv-02615-AGT Document 88-19 Filed 02/14/19 Page 18 of 23
Case 3:18-cv-02615-AGT Document 88-19 Filed 02/14/19 Page 19 of 23
Case 3:18-cv-02615-AGT Document 88-19 Filed 02/14/19 Page 20 of 23
Case 3:18-cv-02615-AGT Document 88-19 Filed 02/14/19 Page 21 of 23
Case 3:18-cv-02615-AGT Document 88-19 Filed 02/14/19 Page 22 of 23
Case 3:18-cv-02615-AGT Document 88-19 Filed 02/14/19 Page 23 of 23
